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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MARK BUCKMAN,                            )
                                         )
         Plaintiff,                      )
                                         )
         v.                              )              No. 2:15-cv-12411-VAR-APP
                                         )              Hon. Victoria A. Roberts
MNS & ASSOCIATES, a New York limited )
liability company; and MICHAEL SHAW, JR.,)
individually                             )
                                         )
         Defendant.                      )

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, MARK BUCKMAN, (“Plaintiff”), through his attorney, Agruss Law Firm, LLC,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses this case, without

prejudice, against Defendant, MNS & ASSOCIATES, LLC and


DATED: October 9, 2015                RESPECTFULLY SUBMITTED,

                                              By:_/s/ Michael S. Agruss_
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